      Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 1 of 7


Quentin M. Rhoades
State Bar No. 3969
SULLIVAN, TABARACCI & RHOADES, P.C.
1821 South Avenue West
Third Floor
Missoula, Montana 59801
Telephone: (406) 721-9700
Facsimile: (406) 721-5838
qmr@montanalawyer.com

Pro Querente




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

MONTANA SHOOTING SPORTS              Cause No. CV-09-147-M-DWM
ASSOCIATION, SECOND
AMENDMENT FOUNDATION,
Inc., and GARY MARBUT,

                 Plaintiffs,
                                            NOTICE OF APPEAL
v.

ERIC H. HOLDER, JR.,
ATTORNEY GENERAL OF THE
UNITED STATES OF AMERICA,

                 Defendant.

     NOTICE IS HEREBY GIVEN that Plaintiffs Montana Shooting Sports

Association, Second Amendment Foundation, Inc., and Gary Marbut
      Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 2 of 7



(“Plaintiffs”), in the above named case hereby appeal to the United States

Court of Appeals for the Ninth Circuit, the final judgment entered in this

action on October 19, 2010. (Dkt. No. 109, Exhibit A attached.)

      Dated this 2nd day of December, 2010.

                        Respectfully Submitted,
                        SULLIVAN, TABARACCI & RHOADES, P.C.


                        By:_/s/ Quentin M. Rhoades
                             Quentin M. Rhoades
                              Pro Querente




                                      2
      Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 3 of 7



                      CERTIFICATE OF SERVICE

      I hereby certify that on the 2nd day of December, 2010, I served a
true and correct copy of the foregoing on the following persons by the
following means:

     __1__       CM/ECF
     _____       Hand Delivery
     __2__       Mail
     _____       Overnight Delivery Service
     _____       Fax
     _____       E-Mail

     1.    Jessica B. Leinwand
           U.S. DEPARTMENT OF JUSTICE
           Civil Division
           P.O. Box 883
           Ben Franklin Station
           Washington, D.C. 20044
           Representing Defendant Eric H. Holder, Jr.

     1.    James Edward Brown
           John E. Bloomquist
           DONEY CROWLEY BLOOMQUIST & PAYNE UDA, P.C.
           Diamond Block ,Suite 200
           44 West Sixth Avenue
           P.O. Box 1185
           Helena, MT 59624
           Representing Weapons Collectors Society of MT (Amicus)
           Representing Western Tradition Partnership (Amicus)

     1.    Mark L. Shurtleff
           OFFICE OF THE ATTORNEY GENERAL
           P.O. Box 142320
           Salt Lake City, UT 84114-2320
           Representing State of Utah & Other States (Amicus)

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Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 4 of 7


               CERTIFICATE OF SERVICE
                        (continued)

1.   Patrick T. Fox
     DOUBEK & PYFER
     P.O. Box 236
     Helena, MT 59624
     Representing State of Utah & Other States (Amicus)

1.   Jeffrey T. Renz
     CRIMINAL DEFENSE CLINIC
     School of Law
     32 Campus Drive
     University of Montana
     Missoula, MT 59812
     Representing Montana Legislators (Amicus)

1.   Jennifer W. Bordy
     ATTORNEY AT LAW
     7720 A Shedhorn Drive
     PMB 132
     Bozeman, MT 59718
     Representing Montana Legislators (Amicus)

1.   Duncan Scott
     SCOTT & KIENZEL
     1001 South Main Street
     Kalispell, MT 59901
     Representing Paragon Foundation, Inc. (Amicus)

2.   Arthur V. Wittich
     WITTICH LAW OFFICE
     602 Ferguson Avenue
     Suite 5
     Bozeman, MT 59718
     Representing Center for Constitutional Jurisprudence
     & Lawmakers from 17 States (Amicus)

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      Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 5 of 7


                      CERTIFICATE OF SERVICE
                               (continued)

      1.   Anthony T. Caso
           LAW OFFICE OF ANTHONY T. CASO
           8001 Folsom Blvd
           Suite 100
           Sacramento, CA 95826
           Representing Center for Constitutional Jurisprudence
           & Lawmakers from 17 States (Amicus)

      1.   Nicholas C. Dranias
           GOLDWATER INSTITUTE
           500 East Coronado Road
           Phoenix, AZ 85004
           Representing Goldwater Institute Scharf-Norton
           Center for Constitutional Gov’t., et al. (Amicus)

      1.   Timothy C. Fox
           GOUGH SHANAHAN JOHNSON & WATERMAN
           P.O. Box 1715
           Helena, MT 59624-1715
           Representing Goldwater Institute Scharf-Norton
           Center for Constitutional Gov’t., et al. (Amicus)

      1.   Chris D. Tweeten
           OFFICE OF THE MONTANA ATTORNEY GENERAL
           P.O. Box 201401
           Helena, MT 59620-1401
           Representing Montana Attorney Gen
           Steve Bullock (Intervenor)


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                                     5
      Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 6 of 7


                     CERTIFICATE OF SERVICE
                              (continued)

      1.   Gregory A. Jackson
           JACKSON LAW FIRM, P.C.
           320 - 11th Avenue
           Helena, MT 59601
           Representing Gun Owners Foundation, Gun Owners
           of America, Inc. & Virginia Citizens Defense League

      2.   Herbert W. Titus
           William J. Olson
           John S. Miles
           Jeremiah L. Morgan
           LAW FIRM OF WILLIAM J. OLSON
           370 Maple Avenue West
           Suite 4
           Vienna, VA 22180-5615
           Representing Gun Owners Foundation, Gun Owners
           of America, Inc. & Virginia Citizens Defense League

      1.   Cynthia L. Wolken
           Montana Legal Services
           616 Helena Avenue
           Suite 100
           Helena, MT 59601
           Representing Brady Center to Prevent Gun Violence; & Int’l
           Brotherhood of Police Officers, et al.

      1.   Gil N. Peles
           PROSKAUER ROSE, LLP
           2049 Century Park East
           Suite 3200
           Los Angeles, CA 90067
           Representing Brady Center to Prevent Gun Violence

///

                                    6
Case 9:09-cv-00147-DWM Document 110 Filed 12/02/10 Page 7 of 7


               CERTIFICATE OF SERVICE
                        (continued)

2.   Paul M. Kienzle
     Attorney At Law
     P.O. Box 587
     Albuquerque, NM 87103
     Representing Paragon Foundation, Inc. (Amicus)



                By:_/s/ Quentin M. Rhoades
                     Quentin M. Rhoades




                              7
